  Case 19-40198         Doc 17    Filed 02/20/19 Entered 02/20/19 16:49:15   Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF MASSACHUSETTS (WORCESTER)


In re:
                                                   Chapter 7
Renzo Mejia
                                                   Case No. 19-40198
         Debtor




                  NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

       Now comes Lakeview Loan Servicing, LLC. and gives notice that the undersigned
counsel files this appearance on its behalf.

          Signed this 20th day of February, 2019

                                       Lakeview Loan Servicing, LLC.
                                       By Its Attorneys

                                       /s/ Joseph M. Dolben________
                                       Joseph M. Dolben, Esq., # 673113
                                       Marinosci Law Group, P.C.
                                       275 West Natick Road, Suite 500
                                       Warwick, RI 02886
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                                                    Chapter 7
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                                  CERTIFICATE OF SERVICE

       I, Joseph Dolben, Esq., of Marinosci Law Group, P.C., do hereby certify that on February
20, 2019 I served a copy of the Notice of Appearance on the attached service list by mailing a
copy of same by first class mail, postage prepaid or other method specified on service list.

          Signed this 20th day of February, 2019.


                                              /s/ Joseph Dolben, Esq.________
                                              Joseph Dolben, Esq., #673113
                                              Marinosci Law Group, P.C.
                                              275 West Natick Road, Suite 500
                                              Warwick, RI 02886
                                              Telephone: (401) 234-9200

VIA ECF
Daniel Gindes Esq., on behalf of Debtors
Richard King, Esq., on behalf of the US Trustee
Anne J White, Esq., on behalf of the Trustee
